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                  EXHIBIT C
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Jesse Wayne Pritchard                                                                                      Net Shares Retained                   700
Transactions in Navient Corporation (NAVI) Securities                                                      Total Retained Cost        $   10,891.30
Class Period: February 25, 2016 and October 4, 2017, inclusive                                             Value of Retained Shares   $    8,675.26
                                                                                                           90-Day Average             $     12.3932
                                                                                                           Losses                     $    2,216.04

Date of Transaction                             Buy (B) or Sell (S) Quantity Price ($) Cost/Proceeds ($)
                                    7/19/2017           B              700 15.559              10,891.30
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Jay Montblanc                                                                                               Net Shares Retained                  450
Transactions in Navient Corporation (NAVI) Securities                                                       Total Retained Cost        $   6,475.50
Class Period: February 25, 2016 and October 4, 2017, inclusive                                              Value of Retained Shares   $   5,576.96
                                                                                                            90-Day Average             $    12.3932
                                                                                                            Losses                     $     898.54


Date of Transaction                              Buy (B) or Sell (S) Quantity Price ($) Cost/Proceeds ($)
                                      8/9/2016           B              450 $14.39               6,475.50
